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                                       UNITED STATES DISTRICT COURT
                                   FOR THE EASTERN DISTRICT OF MICHIGAN
                                            SOUTHERN DIVISION

 UNITED STATES OF AMERICA,
                                                                                       Case No. 11-20129-8
                       Plaintiff,
                                                                                       Judge Robert H. Cleland
 v.

 VINCENT WITORT,



            Defendant .
 ___________________________________/
                                                 “AMENDED”
                          ORDER SETTING SENTENCING AND DEADLINE DATES
                              AND IMPOSING OTHER RESPONSIBILITIES

            The Defendant having been convicted and referred to the Probation Department for

 the preparation of a Presentence Report (PSR), IT IS ORDERED as follows:

 1)         Sentence will be imposed on MARCH 8, 2016 at 2:00 PM. If a custodial sentence

            is imposed, the defendant must be prepared to submit to custody on the day of

            sentencing.

 2)         On or before OCTOBER 16, 2015, the PSR must be submitted to counsel by the

            Probation Officer for review and possible objections.

 3)         On or before NOVEMBER 16, 2015, any PSR objection must be stated to the

            Probation Officer (but cannot be filed on the docket). In stating an objection, counsel

            must use a format substantially similar to the attached Addendum. A purported

            PSR objection originating in a letter, an e-mail, a “sentencing memorandum,” etc.,

            will be rejected by the Probation Officer and returned to the party who provided it.

 4)         On or before FEBRUARY 9, 2016, the proposed final form of the PSR must be

            delivered to the court by the Probation Department.


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 5)         Not later than FEBRUARY 16, 2016, any request by either party for a departure or

            variance from the Guidelines range must be presented in the form of a motion with

            a supporting brief.

 6)         Not later than FEBRUARY 23, 2016, any opposition to the other party’s motion for

            departure or variance motion must be filed.

 7)         A Sentencing Memorandum is optional,1 but due SEVEN DAYS before

            sentencing.

 8)         Counsel must provide a copy of any motion, opposition to a motion, and

            memorandum to the Probation Officer.

 9)         Allocution at sentencing will ordinarily not exceed ten minutes for Defendant’s

            counsel, ten minutes for Defendant and ten minutes for government counsel.


                                                        s/Robert H. Cleland
                                                        Robert H. Cleland
                                                        United States District Judge

 Dated: July 1, 2015

 I hereby certify that a copy of the foregoing document was served upon counsel of record
 on July 1, 2015, by electronic and/or ordinary mail.

                                                        s/Lisa Wagner
                                                        Case Manager




            1
        A sentencing memorandum is often superfluous in light of a motion for variance,
 and more important in the absence of such a motion. Memoranda are ordinarily
 reviewed by the court in the few days leading to sentencing. Do not use a sentencing
 memorandum as a substitute for a motion for a USSG departure or 18 USC
 §3553(a)(2) variance in sentence.

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                                                   SAMPLE
                                         PRESENTENCE REPORT ADDENDUM

 Defendant’s name:                                                            Page #:
 Docket #:                                                                    Paragraph #:
 Date:                                                                        Line(s) #:
 Objection #:

 Section I: Defendant’s/Government’s objection:




 _____________________________                                                 _________________________________
 Attorney’s signature                                                          I affirm the truth of every factual statement above.
                                                                               Defendant’s signature

 Section II: Probation officer’s comments:




                                               Instructions for counsel
                           (Do not replicate instructions on the Addendum to be submitted)

 1)         Provide all objections directly to the Probation Officer, and do not file them on the docket.

 2)         Any objection or claim that a guideline or application note has been incorrectly applied or
            omitted must be accompanied by a clear explanation. Saying only that “the defendant
            disputes” a fact without providing an alternate explanation or reference to specific evidence
            is generally unavailing.

 3)         Do not use the Addendum format or the formal “objection” process to merely
            •      point out a minor factual error, i.e., those that have no effect on guideline
                   calculations nor forms the basis for a departure. Such claims may be presented to
                   the Probation Officer by letter or memorandum.
            •      argue a mechanical result or an alternate guideline calculation that depends on the
                   resolution of a challenged factual item.
            •      react to required PSR comments such as factors for possible departure. Such
                   matters may be presented to the court in the form of a sentencing memorandum.

 4)         When a party has presented a material objection that has not been accepted by the
            Probation Officer and remains for resolution by the court, any opposition must expressed in
            writing whether or not the court specifically orders a response. Always provide a copy to the
            Probation Officer. Responses should correspond to the numbering of the objection(s) and
            clearly explain the party’s position in reaction to the objection.



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